                              Case 1:24-mc-00016-MKV Document 2 Filed 01/10/24 Page 1 of 2

                                                        MISCELLANEOUS CASE COVER SHEET
PLAINTIFFS                                                                      DEFENDANTS
                                                                                 Andre El-Mann Arazi, Gonzalo Pedro Robina
 Advent International Corporation                                                Ibarra, and Fibra Uno Administracion S.A. de C.V.
Attorney’s (Firm Name, Address, and Telephone Number)                           Attorneys (If Known)

                                                                              Beatrice Franklin, Susman Godfrey LLP, 1301 Avenue of the
Peter L. Welsh, Ropes & Gray LLP, 800 Boylston
                                                                              Americas, 32nd Floor, New York, NY 10019, (212) 729-2021
Street, Boston, MA 02199, (617) 951-7000

DESCRIPTION OF CASE                                                 Has this or a similar case been previously filed in SDNY ?
Petitioner moves to compel Respondents to comply
with the subpoenas duces tecum and ad
testificandum served on Respondents in the matter                   No?    X Yes?             Judge Previously Assigned ______________
of Servicios Funerarios GG, S.A. de C.V. v. Advent
                                                                    If yes, was this case: Vol.            Invol.        Dismissed. No          Yes
International Corporation, Case No. 23-CV-10684-IT
(D. Mass.)                                                          If yes, give date: ________________         & Case No. _________________
NATURE OF CASE

 [X ] M 08-85 Motion to Compel                                                  [ ] M 37 Application to Re-Open Civil Case(s) that are more than 25
 [ ] M 08-85 Motion to Quash                                                         years old
 [ ] M 08-86 Internet Infringement                                              [ ] M 38 Application for Reassignment of Bankruptcy Proceeding
 [ ] M 08-88 Surety Companies                                                   [ ] M 39 Application for Discovery and Inspection of
 [ ] M 08-425 Sureties Proceedings                                              Defendant Detained in Federal Prison
 [ ] M 11-03 SEC Litigation to Freeze Account                                   [ ] M 41 Order of Return of 28:2254/2255 Petition
 [ ] M 11-188 GJ Subpoenas - Unsealed                                           [ ] M 42 Order Denying Stay of Deportation
 [ ] M 11-189 GJ Subpoenas - Sealed                                             [ ] M 43 Contempt of Court in Bankruptcy
 [ ] M 16-88 Sale of Unclaimed Seamen’s’ Effects                                [ ] M 44 Claim Compensation under Longshoremen & Harbor
 [ ] M 18-66 Forfeiture Proceedings - Funds Held in trust. 28 USC 1746               Workers Compensation Act
 [ ] M 18-302 Registration of a Judgment from Another District                  [ ] M 46 Order from Another District for Public Viewing
 [ ] M 18-304 Administrative Subpoena Proceedings                               [ ] M 47 Bankruptcy Cases - Before Appeal Filed
 [ ] M 18-305 Registration of Student Loan Judgment                             [ ] M 47B Transmission of Proposed Findings of Fact and Conclusions of
 [ ] M 18-981 Nonjudicial Civil Forfeiture Proceeding                                Law
 [ ] M 19-25 Order Authorizing IRS Officer to Enter Premises for Levy           [ ] M 48 Application for Appointment of Counsel - No Case in This Court
 [ ] M 19-58 General Bonds in Admiralty Purs. to Local Admiralty                [ ] M 49 Order Denying Commencement of Civil Action
       Rule 8                                                                   [ ] M 51 Order to Show Cause - Case Being Transferred from Northern
 [ ] M 19-63 Receivers - Property in Other Districts                                 District of New York
 [ ] M 19-78 Denial to Sue In Forma Pauperis                                    [ ] M 52 Application for Leave to File a Complaint
 [ ] M 22-1 Designation by U.S. Attorney of Individual to accept                [ ] M 53 Order Barring Individual from Entering Courthouse
       service of summons and complaint                                              Building
 [ ] M 22-2 Designation of individual to issue certified copies in              [ ] M 54 Immigration Naturalization - Order Delaying Deportation
       bankruptcy part                                                          [ ] M 55 Petition for Appointment of Impartial Umpire – Labor
 [ ] M 23 Petition to Perpetuate Testimony                                           Management Relations Act and Others
 [ ] M 25-1 Order for Entry to Effect Levy - IRS Matter                         [ ] M 58 Application for Extension of Time to File Petition for Removal
 [ ] M 25-2 Permission to have access to safe deposit boxes                     [ ] M 59 Application to Produce Federal Prisoner in State Court
 [ ] M 26-1 Proceeding to Enforce Order of Administrator - National             [ ] M 67 Notice of Eviction to Squatters (USA Cases)
       Credit Union                                                             [ ] M 71 Application re: Federal Rules Cr. 11(e)(2)
 [ ] M 26-2 Application to Enforce Administrative Order                         [ ] M 72 Order of Attachment of Another District – EDNY
       Rule 5A Rule of Division of Business among District Judges               [ ] M 73 Subpoena to Government Agency
 [ ] M 28 Warrant for Entry & Inspection of Premises                            [ ] M 75 Application for Writ of Garnishment
 [ ] M 29 Privacy Act Application                                               [ ] M 76 Central Violations Bureau
 [ ] M 30 Privacy Act Application                                               [ ] M 77 Application to have subpoena issued to person living in this
 [ ] M 31 Order of Commodity Exchange Commission Directing Person                    district regarding action in foreign country or tribunal
       to Pay Money                                                             [ ] M 90 Order of Attachment
 [ ] M 32 Petition for Writ to Produce Federal Prisoner in State Court          [ ] M 93 Letters Rogatory ______________________________
 [ ] M 33 Inspection Warrant - Department of Energy                             [ ] M 94 Other _______________________________________
 [ ] M 34 Order of Another District Court that the State Court Produce          [ ] M 98 Application to file a civil case under seal.
 [ ] M 35 Order to Stay Transfer of Federal Prisoner                            [ ] M 100 Motion to unseal – Criminal Duty Matter
 [ ] M 36 National Labor Relations Board
                         Case 1:24-mc-00016-MKV Document 2 Filed 01/10/24 Page 2 of 2

DO YOU CLAIM THIS CASE IS RELATED TO A MISCELLANEOUS CASE NOW PENDING IN THE SDNY? IF SO, STATE:


JUDGE                                                       MISCELLANEOUS CASE NUMBER

NOTE: Please submit at the time of filing an explanation of why cases are deemed related


PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)

         Advent International, L.P.
         Prudential Tower
         800 Boylston Streeet
         Boston, MA 02199-8069



DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)

  Fibra Uno Administracion S.A. de C.V.                                 Gonzalo Pedro Robina Ibarra and Andre El-Mann Arazi
  Antonio Dovali Jaime 70                                               c/o Fibra Uno Administracion S.A. de C.V.
  Samara Torre B                                                        Antonio Dovali Jaime 70
  Santa Fe, CDMX 01376, Mexico                                          Samara Torre B
                                                                        Santa Fe, CDMX 01376, Mexico



DEFENDANT(S) ADDRESS UNKNOWN
REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, I HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN THE
RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:




CHECK ONE: AT LEAST ONE PARTY IS PRO SE                    No       x     Yes
CHECK ONE: THIS ACTION SHOULD BE ASSIGNED TO                            WHITE PLAINS        MANHATTAN        x
DATE            SIGNATURE OF ATTORNEY OF RECORD                                         ADMITTED TO PRACTICE IN THIS DISTRICT

                                                                                       U.S. GOVERNMENT ATTORNEY
1/10/2024           /s/ Peter L. Welsh
                                                                                       NO

                                                                                                                   Sept.   2021
                                                                                 X     YES (DATE ADMITTED MO._______ YR. ________)
RECEIPT #
                                                                                                             5365887
                                                                                       ATTORNEY BAR CODE # _____________________


Ruby J. Krajick, Clerk of Court, ________________________________               Dated __________________________
